    Case 2:88-cr-00239-PGS Document 2 Filed 05/16/11 Page 1 of 1 PageID: 9
                                        U.S. Department of Justice


                                                     United States Attorney
                                                     District of New Jersey


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May 16, 2011


The Honorable Peter G. Sheridan
United States District Judge
Clarkson S. Fisher U.S. Courthouse
and Federal Building
Trenton, NJ 08608

       Re:     United States v. Louis Manna, 88-cr-239; 97-cv-2034

Dear Judge Sheridan:

               Please accept this letter in lieu of a more formal submission in response to
Petitioner’s Application dated March 10, 2011, in the above-referenced action.

                 Petitioner has requested that certain documents that he claims to have submitted
nearly six years ago in connection with this litigation be returned to him. However, Petitioner
has offer no basis for this request. Indeed, any submissions made by Petitioner in connection
with his litigation should be retained by both the Court and the parties as part of the record.



                                                     Respectfully submitted,

                                                     PAUL J. FISHMAN
                                                     United States Attorney

                                                     s/ R. Joseph Gribko

                                                     By: R. JOSEPH GRIBKO
                                                     Assistant U.S. Attorney
